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10                      IN THE UNITED STATES DISTRICT COURT
11                              FOR THE DISTRICT OF ARIZONA
12
     Mark Brnovich et al.,
13                                                           No. 2:21-cv-01568-MTL
                          Plaintiffs,
14
              vs.
15                                                 DEFENDANTS’ OPPOSITION
                                                   TO PLAINTIFFS’ MOTION FOR
16   Joseph R. Biden, et al.,                      EXPEDITED BRIEFING SCHEDULE
                                                   (DKT. 17)
17                         Defendants.
18
19         Earlier today, Plaintiffs filed a motion for temporary restraining order and
20   preliminary injunction (“PI”) consisting of 34 pages—double the page limit permitted by
21   Local Rule 7.2(e). See ECF No. 34 (“Pls.’ Mot. for PI”). Shortly thereafter, Plaintiffs
22   moved for an expedited briefing schedule on their overlength motion for preliminary relief.
23   See ECF No. 36 (“Pls.’ Mot. to Expedite”).         Under Plaintiffs’ requested schedule,
24   Defendants’ opposition to the proposed PI motion would be due on October 27, 2021 and
25   Plaintiffs’ reply brief would be due on October 29, 2021. Defendants oppose Plaintiffs’
26   motion to expedite and respectfully request that the Court follow the normal briefing
27   schedule set forth in Local Rule 7.2, under which Defendants’ opposition would be due on
28   November 5, 2021, and Plaintiffs’ reply would be due on November 12, 2021.
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 1          Plaintiffs contend that an expedited briefing schedule is necessary in light of “the
 2   vaccination deadlines approaching and their effect.” Id. at 2. Plaintiffs reference guidance
 3   from the Safer Federal Workforce Task Force (“Task Force”), under which federal
 4   employees must generally be vaccinated by November 22, 2021, see Task Force, COVID-
 5   19 Workplace Safety: Agency Model Safety Principles at 1 (updated Sept. 13, 2021),
 6   https://perma.cc/7NZX-KUE6, as well as guidance under which certain employees of
 7   federal contractors must be fully vaccinated no later than December 8, 2021, see Task
 8   Force, COVID-19 Workplace Safety: Guidance for Federal Contractors and
 9   Subcontractors (Sept. 24, 2021), https://perma.cc/3BDM-L94M.
10          Only one Plaintiff is an individual who might be subject to the challenged federal
11   vaccination requirements. That individual, a federal employee who is unwilling to become
12   vaccinated and seeks to proceed under the pseudonym John Doe, see Mot. for Leave to
13   Proceed Pseudonymously, ECF No. 16 (“Pseudonym Mot.”),1 allegedly “faces the heavy
14   economic harm of losing his job, and thus his income.” Pls.’ Proposed PI Mot. at 30.
15   Plaintiff Doe’s situation does not justify ordering expedited briefing here for two
16   independent reasons.
17          First, it is exceedingly unlikely that Plaintiff Doe would face any adverse
18   employment consequences before the PI motion would be fully briefed under the normal
19   schedule set forth in Local Rule 7.2. Per the Task Force’s guidance, the earliest date on
20   which agencies may initiate an enforcement process against federal employees who refuse
21   to be vaccinated is November 9, 2021. Task Force, Frequently Asked Questions (“FAQs”),
22   Vaccinations, Enforcement of Vaccination Requirement for Employees, (last visited Oct.
23   22, 2021), https://perma.cc/8YT4-TCMY (“Enforcement FAQs”).              The enforcement
24   process is to begin with a five-day period of education and counseling regarding the
25   benefits of vaccination and ways to obtain the vaccine, meaning that the earliest date on
26   which Plaintiff Doe could face any workplace discipline would be Monday, November 15,
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28          While this brief refers to the individual as “Plaintiff Doe” for ease of reference,
     Defendants reserve their right to oppose the pending Motion to Proceed Pseudonymously.

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 1   2021. Under the normal briefing schedule, the proposed PI motion would be fully briefed
 2   before that date.
 3          What is more, it is speculative whether Plaintiff Doe will ever face adverse
 4   employment consequences because he has requested a medical exception to the federal
 5   employee vaccination mandate. See Pseudonym Mot. at 2. This request might be granted,
 6   which would moot the case with respect to Plaintiff Doe. And under Task Force guidance,
 7   Plaintiff Doe will not be subject to discipline while his request for an exception is under
 8   consideration—even if his request remains pending beyond November 9. See Enforcement
 9   FAQs. Further, if Plaintiff’s Doe’s exception request were denied, he would be given an
10   additional two weeks from the denial within which to receive the first (or only) dose of a
11   COVID-19 vaccine before being subject to discipline.             See Task Force, FAQs,
12   Vaccinations, Limited Exceptions to Vaccination Requirement, (last visited Oct. 22, 2021),
13   https://perma.cc/8YT4-TCMY (“Exception FAQs”).
14          Second, Plaintiff Doe would not be irreparably harmed by any adverse employment
15   consequences that might occur while the pending PI motion is litigated. Courts have
16   repeatedly held that the economic harm associated with termination of employment—the
17   most severe harm Plaintiff Doe could potentially face here—does not constitute irreparable
18   injury for purposes of a preliminary injunction. See Sampson v. Murray, 415 U.S. 61, 88–
19   91 (1974); Hartikka v. United States, 754 F.2d 1516, 1518 (9th Cir. 1985); Addington v.
20   US Airline Pilots Ass’n, 588 F. Supp. 2d 1051, 1068 (D. Ariz. 2008); see also, e.g., Garcia
21   v. United States, 680 F.2d 29, 31–32 (5th Cir. 1982) (observing that “[i]t is practically
22   universal jurisprudence in labor relations in this country that there is an adequate remedy
23   for individual wrongful discharge after the fact of discharge,” i.e., “reinstatement and back
24   pay”). Thus, to whatever extent Plaintiff Doe “faces the heavy economic harm of losing
25   his income,” Pls.’ Mot. for PI at 30, it does not constitute irreparable harm—much less
26   does it justify giving Defendants just three days to brief their opposition to a 34-page
27   motion for preliminary injunction.
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 1          For its part, Plaintiff Arizona claims that federal vaccination policies will harm its
 2   economy. But its conclusory assertions of economic harm fall well short of justifying the
 3   entry of an expedited briefing schedule.          Arizona vaguely claims that unspecified
 4   businesses “will either have to fire valuable employees, or give up lucrative government
 5   contracts,” id. at 29, but fails to reference any particular business that is at risk of imminent
 6   harm due to the challenged policies, much less the cancellation of contracts or how such
 7   imagined losses constitute irreparable harm. Similarly, Arizona claims that it “will suffer
 8   direct economic loss” because “some Arizona state agencies are federal contractors,” but
 9   it fails to specify any such agency, to allege that the agency imminently “face[s] the loss
10   of federal funds and contracts,” id. at 30, or to explain how such losses would constitute
11   irreparable harm.
12          In fact, Executive Order 14042 instructs federal agencies to incorporate vaccination
13   requirements into “contracts and contract-like instruments,” “to the extent permitted by
14   law.” 86 Fed. Reg. 50,985. The specifics of how federal agencies will incorporate
15   vaccination requirements into existing or future contracts will necessarily vary based on
16   the specific details of each contract, and Plaintiffs fail to specify a single contract involving
17   the State of Arizona that will be modified during the three weeks devoted to briefing under
18   the normal schedule set forth in Local Rule 7.2. Vague, conclusory allegations of the sort
19   offered by Plaintiffs are insufficient to survive a motion to dismiss under Rule 12 of the
20   Federal Rules of Civil Procedure. They certainly do not justify giving Defendants just
21   three business days to brief their opposition to a lengthy motion for preliminary injunction
22   raising numerous constitutional and statutory issues.
23          Furthermore, any exigency that exists here is of Plaintiffs’ own making. The
24   challenged Executive Orders were issued on September 9, 2021, and the vaccination
25   deadlines that Plaintiffs cite as “requiring an expedited briefing schedule” were announced
26   at that time or shortly thereafter. See Exec. Order 14042 (Sept. 9, 2021); Exec. Order
27   14043 (Sept. 9, 2021); see also Contractor Guidance (issued Sept. 24, 2021). Plaintiffs
28   filed a 14-page complaint on September 14, 2021, containing a single claim that the


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 1   Executive Orders “discriminat[e] on the basis of national origin and alienage in violation
 2   of the Equal Protection Clause.” Compl. ¶ 41, ECF No. 1. The complaint contains no
 3   allegations about irreparable harm or indication that Plaintiffs intended to seek preliminary
 4   relief. Plaintiffs apparently spent the next five-and-a-half weeks preparing a 52-page
 5   Amended Complaint that is much broader than the original. In addition to adding a new
 6   Plaintiff and several new Defendants, the Amended Complaint contains ten additional
 7   claims challenging federal vaccination policies (as well as claims directly challenging
 8   alleged immigration policies), raising numerous factual and legal issues not found in the
 9   original complaint. Immediately after filing the Amended Complaint and a 34-page motion
10   for preliminary relief, Plaintiffs filed—without prior notice to Defendants or an opportunity
11   to meet and confer2—the present motion for expedited briefing. This type of behavior
12   should not be rewarded. Forcing the Government to respond to Plaintiffs’ overlength
13   motion in a matter of days, due to a purported time crunch that is of Plaintiffs’ own making,
14   on the basis of flimsy allegations of harm, would not serve judicial economy and would
15   unfairly prejudice the Government. The default schedule contemplated by the Local Rules
16   should prevail.
17
18          Respectfully submitted this 22nd day of October,
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27          2
              Prior to filing this opposition, undersigned counsel called Plaintiffs’ counsel and
28   attempted to negotiate a mutually agreeable briefing schedule. The parties were not able
     to reach an agreement.

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